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UNITE\) STA']_`ES DISTRIC'I` COURT
CENTRAL DISTRICT OF CALIF()RNlA

SOUTI~IERN DIVISION

SECURITIES AND `EXCHANGE Case No. SACV08-00430 JVS (RNBX)

COMMISSION,
COMPLAINT
Plaintiff, '

V S .
BROADCOM CORPORATION,
Dcfendant.

 

 

 

 

l. ~Th'ls matter involves improper Stock option backdating at Broadcom
Corpo:ration (“Broadcom” or the “Company”), Which resulted in the Cornpany’s
issuance of false tinancial statements that concealed from shareholders billions of
dollars in Stocl<~based compensation expenses.

2. Unde:r well-Settlcd accounting principles in effect throughout the

relevant penod, Bl'oadcom was not required to record an expense in its financial

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statements for options granted to employees at the market price (“at-the-money”),
but was required to record expenses for any options granted below the current
market price (“in~the~rnoney”). From June 1998 through May 2003, to help recruit
and retain employees With potentially far more lucrative “in-the-money” options,
Broadcom systematically backdated employee and officer stock options to coincide
with the dates of low closing prices for the Cornpany’s common stock Without
properly recording the compensation expenses associated With such options. :I`p
January 2007, Broadcom restated its financial results for the years 1998 through '
2005 and reported an additional $2.22 billion in previously unrecorded net non-
cash compensation expenses

3. The backdating scheme at Broadcom Was orchestrated and carried out
by Broadcom’s most senior executives, including its co-founder and former chief
executive officer, its co-founder and chairman and chief technical officer, its _
fenner chief financial officer, its general counsel, and its former director of human
resources

4. As a result of the acts alleged in this Complaint, Broadcom violated
the antinaud provisions of the federal securities laws, falsified books and records,
and falsely reported its financial results. The Commission seeks an order enjoining
Broadcom from future violations of the securities laws, requiring it to pay a civil
monetary penalty, and providing other appropriate relief.

JURISDICTION AND VENUE

5 . v "This Court has jurisdiction over this action pursuant to Sections 20(b),
ZO(d)(l), and 22(a) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§
77t(b), 77t(d)(1), and 77v(a), and Sections 21(d), 21(e), and 27 of the Securities
Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78u(d), 78u(e), and 78aa
The defendant, directly or indirectly, made use of the means or instrumentalities of
interstate commerce, of the mails, or of the facilities of a national securities

exchange in connection With the transactions, acts, practices, and courses of

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business alleged in this Complaint.

6. V'enue is proper in this district pursuant to Section 22(a) of the
Secun'ties Act, 15 U.S.C. § 77v(a), and Section 27 of the Exchange Act, 15 U.S.C.
§ 78aa The transactions acts, practices and courses of conduct constituting
violations of the laws alleged in this Complaint occurred within the Central District
of California, and the defendant may be found in this district

])EFENDANT 7

7. Broadcom Corporation is a Califomia corporation headquarteredtin '
Irvine, California. Broadcom designs develops, and supplies semiconductors for
wired and wireless communications markets At all relevant times, Broadcom’s
common stock was registered under Section 12(g) of the Exchange Act and was
traded on the Nasdaq National Market under the symbol “BRCM.” Broadcom
conducted an initial public offering on April 17, 1998.

M§
A. Broadcom Misrepresented Its Option Program

8. After Broadcom went public in April 1998, it experienced tremendous
growth, expanding from approximately 300 employees in 1998 to about 3000
employees in 2002. Broadcom operated in the highly competitive high-tech
market, where recruiting and retaining talented employees was atop priority.
Another priority, as set forth by Broadcom’s two founders, was/ito preserve cash.
To preserve cash, Broadcom maintained a ceiling of $1 10,000 annual cash salary
for most employees and officers during the relevant period As a result, Broadcom
relied heavily on stock options to recruit and retain employees

9. Each stock option gave the grantee the right to buy one share of
Broadcom’s stock from the Company at a set price, called the “exercise” price or
“strike” price, on a future date, after the option had vested. The option was “in-
the-money” whenever the trading price of Broadcom’s common stock exceeded

the option’s exercise price. The option was “at-the-money” whenever the trading

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price of Broadcom’s common stock and the exercise price were the same. The
option was “underwater” or “out-of-money” whenever the trading price of
Broadcom’s common stock was less than the exercise price.

10. From June 1998 through May 2003, Broadcom granted both annual
and periodic options to its employees and officers under its stock option plans
Before 2000, Broadcom awarded annual grants to employees on or about the
anniversary date of their employment Beginning in 2000, annual options werek
awarded to most eligible employees and were referred to as “focal” grants t
Periodic options Were also awarded to selected employees These option grants
included new hire grants, performance and promotion grants, patent grants, and
“top-up” grants that were made in connection with acquisitions

11. During the relevant period, Broadcom’s stated practice was to grant
all stock options with an exercise price that purportedly matched the fair market
value of the Company’s stock on the grant date.

12. Throughout the relevant period, Broadcom’s public filings
affirmatively stated that the Company accounted for its employee stock options
pursuant to Accounting Principles Board Opinion No. 25, Accounting for Stock
lssuea' to Employees (“APB 25”). Under APB 25 and the accounting rules in effect
from 1998 through June 2005, a public company was allowed to` grant stock
options to employees without recording a compensation expense so long as the
options were granted at-the-money. However, if a company granted “in-the-
money” options, the company was required to record as an expense on its financial
statements the difference between the exercise price and the quoted market price
on the “measurement date” over the vesting period of the options The
measurement date, as defined by APB 25, is the first date on which the following
information is known: (i) the number of options that an individual employee is
entitled to receive, and (ii) the exercise price. The stock options that Broadcom

granted to its employees typically had a vesting period of four years, during Which

 

 

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time a proportion of the option shares became exercisable periodically
Consequently, granting in-the-money options to employees could have had a
significant impact on the expense and income (or loss) reported to Broadcom’s
shareholders

13. Broadcom disclosed its accounting for stock options in the notes to its
audited financial statements included in its annual reports to shareholders filed

with the Commission on Form 10-K, for its fiscal years 1998 through 2005. In

- these annual reports, Broadcom did not record expenses for the backdated stock 7

options In addition, Broadcom’s proxy statements (which were sent to
shareholders) for the fiscal years 1999 through 2003 stated that options awarded to
its executive officers were granted at the market price on the date of the grant. The
disclosure regarding the employee stock option program in these public filings was
also false and misleading
B. The Backdating§cheme At Broadcom

14. During the relevant period, Broadcom granted stock options to its
employees and officers, including executives who fell within the definition of
“officer” under Rule 16a-1(f) of the Exchange Act, 17 C.F.R. § 240.16a-1(f)
(“Section 16 officers”). Option grants to employees and non-Section 16 officers
were supposed to be approved by a two-member option committee comprised of
the former CEO and the current chief technical officer. Grantsi-Vto Section 16
officers were supposed to be approved by a compensation committee comprised of
two independent board members Notwithstanding the distinction between the two
committees, the two option committee members in effect determined option grants
for all employees, including Section 16 officers

15. Option committee and compensation committee approval of option
grants was documented by unanimous written consents (“UWCS”) that approved
grants “effective as of ’ a specified date. The UWCS, however, were usually

prepared weeks or months after the “as of’ date. The UWCs typically referred to

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an attached schedule that listed the names of the grantees and the number of shares
subject to each option. The schedules were usually prepared long after the “as of’
date, and were sometimes changed even after that.

l6. From June 1998 through May 2003, the option committee purportedly
approved as many as 88 option grants But for many of these grants, there were no
option committee “meetings” or decisions made on the purported grant dates
lnstead, the former CFO retroactively determined the grant dates after reviewing a
list of Broadcom’s closing stock prices over a ranging time period. During tlie -
relevant period, the CF 0 received “rnenu” emails from the Company’s stock
administrator, in which the stock administrator provided a list of historical closing
prices for several previous Fridays (the day the option committee purportedly held
meetings) and inquired whether the option committee had met and approved option
grants on any of the listed dates The “menu” emails allowed the CFO to easily t
“look back” and pick the lowest strike price for the period. The CFO invariably
responded to the stock administrator’s requests by confirming that the option

committee had met to approve options on a date with the lowest corresponding

' stock price.

17. During the relevant period, the two option committee members signed
UWCS that falsely memorialized that options were granted “as of” the selected
grant dates, even though they knew there was no option committee meeting or
decision to grant options on the stated dates and that the terms of the grants had not
been finalized on those dates l
C. Backdated CompanV-Wide Option Grants

1. May 262 2000 Grant _

18. Broadcom made its first company-wide, or “focal,” grant purportedly
on May 26, 2000, at an exercise price of $l l 8.38 per share, the lowest closing
price for Broadcom stock between October 1999 and October 2000. The May 26,
2000 grant date was selected on or about May 30, 2000, but it took months for

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Broadcom to allocate options to individual employees The delay caught the
attention of Broadcom’s auditors in late July 2000, when Broadcom’s stock price
had risen from $118 per share to well over $200. According to Broadcom’s
manager of financial reporting, who was the Company’s primary contact with the
auditors, the auditors were concerned about the “measurement date” of the grant,
and took the position that Broadcom needed to know how many shares were
granted to each employee to actually set the “measurernent date” for accounting
purposes On July 20, 2000, the CFO emailed the CEO that the auditors were
“making noises that we will have to take a compensation hit of over $700Ml
Obviously we are not about to let this happen. . ..”

19. After intense discussions with the auditors, the auditors ultimately
signed off on the May 26, 2000 grant without insisting that Broadcom record a
compensation charge. I-Iowever, from September 2000, all senior officers involved ‘
in the option granting process knew, or were reckless in not knowing, that
allocating options to individual employees after a grant date had been determined
would trigger accounting consequences Nevertheless, Broadcom continued the
improper practice of subsequent allocation through May 2003, and never took any
compensation charge associated with such option grants

2. Backdated 2001 Grants

20. From late 2000, Broadcom’s stock price declined substantially,
causing many employee stock options to be “underwater.” To address employee
concerns, Broadcom conducted a tender offer in May 2001 to allow employees to
exchange their underwater options for new options to be issued between Decembcr
24, 2001 and Janua_ry 31, 2002. Employees had to decide whether to take part in
the tender offer by June 23, 2001. On June 24, 2001, after the tender offer period
closed, Broadcom granted options to those employees who declined to participate
in the tender offer. This grant, however, did not include options to many officers

because the former CEO delayed for months in completing allocation of options to

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his direct reports including several Section 16 officers Consequently, Broadcom
made two additional grants purportedly on October 1 and October 19, 2001.
Broadcom then granted options to employees who participated in the tender offer
purportedly on Decembcr 24, 2001. However, these three grant dates were false,
and the options were actually granted at a later time and then backdated to reflect
the earlier date.

21. The October 1, 2001 grant date was selected by the former CFO; .-;
around November 2, 2001. The October l, 2001 closing price for Broadcom ;tock,
$18.77, which was used as the exercise price, was Broadcom’s lowest closing price
in 2001. Later in November and Decembcr 2001, Broadcom also seized the low
$18.77 exercise price to award a substantial number of special options to two
groups of employees (i) top performers and (ii) those employees whose existing
options would be fully vested in the next two years _

22. T he 0ctober 19 and Decembcr 24, 2001 grant dates were selected on
January 4,- 2002 after discussions between the two option committee members and
other senior officers The Decembcr 24, 2001 closing price of $39.75 was the
lowest price for Broadcom Stock during the entire re-grant’vvindow of Decembcr
24, 2001 and January 31, 2002.

23. The purported October 19 and Decembcr 24, 2001 grants included
options-to Section 16 officers which required the approval of the compensation
committee _'l`here was no meeting of the compensation committee to approve any
grant on the purported grant dates In fact, the compensation committee was not
even legally constituted during this period, because one of the two requisite
members of the committee died in July 2001, and his replacement Was not
appointed until March 2002. At the direction of Broadcom’s general counsel, false
board and compensation committee UWCs were prepared and used to conceal the
backdating of the grants including a false board UWC dated as of “_October 12,”

2001 to appoint the replacement member to the compensation committee, just in

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time to approve the October 19 and Decembcr 24 grants

3. 2002/2003 Focal Grant on Julv 3, 2002

24. ln March 2002, Broadcom’s stock price began a steady decline. The
2002 annual, or “focal,” grant process had started in the spring of 2002. By rnid-
May, the director of human resources sent several emails stating that the option
committee had met and approved foc`al grants on May 10, 2002 at $24.54, which
was then the lowest price since October 2001. This grant date was abandoned after
the stock price dropped even further. In mid-June 2002, one of the option l
committee members suggested that Broadcom take advantage of “a favorable
strike price” and grant 2003 focal options at the same time as the 2002 grant, hence
making it a “double focal” grant. This idea was “killed” by the former CFO in
early luly but later “revived.” Broadcom granted the “double focal” options to
purchase in the aggregate more than 31.5 million shares of Broadcom stock _
purportedly on July 3, 2002 at an exercise price of 315.74. The date was selected
retroactively by the CFO on or about July 16, 2002. The July 3, 2002 price of
$15.74 was the second lowest closing price for Broadcom’s stock between January
l, 2002 and September 5, 2002.

25. The process for allocating individual options for the 2003 focal
portion of the “double focal” grant did not resume until after July 16, 2002, and
was not completed until August 2002. During this period, the director of human
resources complained that she had to meet in person with all business units about
the allocation because the CFO did not want her to “communicate anything in
writing since it would leave an email trail of unfavorable dates.”

4. The May 19, 2003 Focal Grant

26. Broadcom granted focal options to newly hired employees who did
not participate in the 2002/2003 “double focal” grant with a purported grant date of
May 19, 2003 at an exercise price of $20.00. The approval of the purported May
19, 2003 grant did not occur until lurie 5, 2003, when Broadcom’s stock closed at

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$26.66.
D. Backdated Grant to NeW-Hire and Hiring Th-rough Acquisitions

27. In June 1999, in an effort to recruit one engineer, the CEO offered the
engineer backdated, in-the-money options to acquire 120,000 shares of Broadcom
stock at an exercise price of $88.375, which was the closing price on May 25,
1999. The engineer, however, did not begin working at Broadcom until J`une- 28,
1999. On that date, Broadcom’S stock closed at $118. The new-hire’s offer letter
and personnel files were falsified to reflect the backdated date. ll l

28. During 2000, Broadcom senior officers deployed a deceptive method
to recruit “key” employees with lucrative options - hiring through acquisition
targets Broadcom made numerous acquisitions in 2000. The acquisition targets
were typically start-up companies whose stock was comparatively cheap. Hiring
through such targets allowed Broadcom to promise prospective employees options
to purchase the target’s stock that, once the acquisition was completed, would be
enormously in-the-money. Broadcom directed the acquisition target to hire
Broadcom’s candidates on Broadcom’s terms after the signing of a definitive
agreement. Because the new hires never really worked for the target company,
employment and personnel records were falsified to effect the hiring and granting
of options by the target v

29. One example of the deceptive practice involved the hiring of
Broadcom’s chief information officer in August 2000. On August 9, 2000,
Broadcom signed an agreement to acquire a start-up company called Newport
Communications, lnc. (“Newport”). At the same time that Broadcom was
negotiating the acquisition, Broadcom had been trying to recruit a candidate for the
position of chief information officer at Broadcom. To make Broadcom’S
compensation package attractive to the recruit, the CFO offered the candidate
options in Newport stock which, upon completion of the acquisition, would be -

in-the-money by $12 million. The candidate accepted the offer, and received an

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August 25, 2000 offer letter from Newport that included options to acquire
600,000 shares of Newport stock. The recruit, however, never worked for
Newport, and reported directly to Broadcom.

30. By bringing in the candidate through Newport, Broadcom concealed
the grant of a large amount of in-the-money options to the new hire. Although
Broadcom recorded an expense for the options that the new hire had received from
Newport, the expense was recorded as acquisition-related deferred compensation,
and not as a compensation expense associated with in-the-money options n l
E. Broadcom Falsely Reported Its Financial Results and Materiallv

Misrepresented Its Stock Option Program

31. As a public company, Broadcom filed with the Commission periodic
reports and other filings including annual reports that included audited financial
statements which were certified by the Company’s outside auditors From June _
1998 through May 2003, by repeatedly backdating its option grants Broadcom'
granted in-the-money options but Broadcom never recorded a compensation
expense for such options As' a result, Broadcom made false and misleading
disclosures regarding its operating results and option grants in its public filings
including its periodic reports on Forms lO-K, lO-Q, and 8-K, its proxy statements
and its registration statements

1. Forms 10-K, 10-0, and 8-K

32. 1The backdating scheme caused each of Broadcom’s annual reports on
Form lO-K" for fiscal years 1998 through 2003, and each of its quarterly reports on
Form lO-Q for the same period, to materially understate Broadcom’s stock-based
compensation expenses This in turn, caused Broadcom to overstate its net
income or to understate its net loss and to overstate its earnings per share and
profit margin. Broadcom’s Forms lO-K and lO-Q for fiscal years 2004 and 2005
contain materially false and misleading financial statements and results because, in

part, they contain, to varying degrees materially false and misleading historical

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financial statements from fiscal years 1998 through 2003. Broadcom’s materially
misstated operating results also were featured in Broadcom’s earnings releases to
the market, which were filed with the Commission in Forms 8-K during the
relevant period c
33. On January 23, 2007,'Broadcom restated its financial results for the
years 1998 through 2005 to record an additional $2.22 billion of compensation
expense associated with backdated stock options The impact of the restatement on

Broadcom’s operating income during the relevant period was as follows:

 

 

 

 

 

 

 

 

 

 

 

Fiscal Year Broadcom’s Operating Unrecognized Percentage By Which Operating
Ended 12/31 Income (Loss) As Compensation Income (Loss) Was Overstated
Originally Stated ' Expense ' (Understated)

1998 $35,660,000 $11,770,000 49.3%

1999 $92,653,000 $74,927,000 422.7%

2000 ($713,381,000) $442,326,000 §38.3%)

2001 ($2,790,921,000) $916,879,000 (24.7%)

2002 ($ 1,918,415,000) $374,337,000 (16.3%)

2003 ($967,619,000) $334,006,000 (25.7%)

2004 $272,025,000 $65,085,000 31.5%

2005 $336,837,000 $44,640,000 15.3%

Total ($5,653,161,000) $2,263,970,000 (28.6%)

 

 

 

 

 

34. Broadcom’s failure to account for compensation expenses associated
with the granting of stock options led Broadcom to overstate its gross profit by
13% for 2001, 4% for 2002, and 4% for 2003. The Company’s failure to account
for compensation expenses also caused Broadcom to understate its net loss per
share (basic and diluted) by 25% for 2001, 20% for 2002, and'26% for 2003, and
to overstate its net income per share by 28% (basic) or 27% (diluted) for 2004, and
13% (basi¢) Or 11%(di1ure_d) for 2005. `

35. In addition, in its annual and quarterly reports on Forms lO-K and 10-
Q for fiscal year 2000, Broadcom reported compensation expenses for options that
Broadcom’s acquisition targets granted to new-hires at Broadcom’s direction and
on its behalf The Forms 10-K and lO-Q, however, did not disclose Broadcom’s
deceptive practice of hiring through the acquisition targets The Forms l O-K and

lO~Q also reported the compensation liability as acquisition-related deferred

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compensation, not as compensation expense associated with in-the-money options

2. Proxy Statements

36. Broadcom sent shareholders proxy statements in connection with its
annual shareholder meetings from 1999 through 2003, and for a special
shareholder meeting in October 1999. In the proxy statements for the shareholder
meetings for the years 2001 through 2003 and for the 1999 special shareholder
meeting, Broadcom solicited shareholder approval of annual amendments to its
1998 Incentive Stock Plan to increase the number of shares reserved for issuance l
under the Plan.

37. Each of the proxy statements falsely represented that options to
Broadcom’s executive officers were granted at the market price on the date of the
grant. The proxy statements for the shareholder meetings for the years 2001
through 2003 and for the 1999 special shareholder meeting falsely disclosed the
date of option grants to its named executive officers which were incorporated by
reference into the Company’s annual reports on Form 10-K. The proxy statements
also represented that the compensation committee had exclusive authority to grant
options to Section 16 officers when in fact the two founders and the CFO decided
when and how many options to award. ln addition, while the proxy statements
described that in~the-money options would result in the Company taking a
compensation expense, the proxy statements were materially misleading because
they failed to disclose that Broadcom routinely ignored this treatment of its stock
options ll k "

3. Registration Statements 7

38. From June 1998 through 2005, Broadcom filed various registration
statements with the Commission, including one on Form S-l, four on Forms S~3,
one on Form S-4, and 21 on Forrns S-8. These registration statements were filed
primarily in connection with Broadcom’s acquisitions of other companies Thesc

registration statements included and/or incorporated by reference the consolidated

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financial statements and the misrepresentations in Broadcom’s Forms 10-K, 10~Q,
and 8-K, and Broadcom’s proxy statements for the same period. ln addition,
Broadcom conducted tender offers in 2001 and 2003. The tender offer documents
contained misleading statements regarding the 1998 Stock Option Plan. ln
particular, the tender offer documents stated that in-the-money options pursuant to
the Plan would result in the Company taking a compensation expense, but they did
not disclose that Broadcom routinely ignored that treatment of its stock options
The tender offer documents also incorporated the false financial statements
included in Broadcom’s Forrns lO-K for the period.

4. False Books and Records at Broadcom

39. During the relevant period, Broadcom’s option committee members
signed false UWCs approving backdated option grants Broadcom’s employees
from the finance and shareholder services departments relied on the false UWCs to
record option grants into the Company’s books and records and to prepare
Broadcom’s financial results and public filings As a result of the backdating of
option grants Broadcom’s books and records falsely and inaccurately reflected,
among other things the dates of option grants the Company’s stock-based
compensation expenses the Company’s operating results and at least one
employee’s hire date.

40. Broadcom also provided the “as of’ dated UWC_s"as. documentation of

its stock option grants to Broadcom’s external auditors in connection with their

' audits of Broadcom’s financial statements

FIRST CLAIM FoR RELIEF
FRAUD IN THE OFFER OR SALE OF SECURITIES
Violations of Section 17(a) of the Securities Act

41. The Comrnission realleges and incorporates by reference 111 l through
40 above.

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42. Broadcom, by engaging in the conduct described above, directly or
indirectly, in the offer or sale of securities by the use of means or instruments of

transportation or communication in interstate commerce or by the use of the mails:

a. With scienter, employed devices schemes or artifices to
defraud;
b. obtained money or property by means of untrue statements of a

material fact or by omitting to state a material fact necessary in ,
order to make the statements made, in light of the n v
circumstances under which they were made, not misleading; or

c. engaged in transactions practices or courses of business which
operated or would operate as a fraud or deceit upon the
purchaser.

43. By engaging in the conduct described above, Broadcom violated, and
unless restrained and enjoined will continue to violate, Section 17(a) of the
Securities Act, 15 U.S.C. § 77q(a).

` SECOND CLAIM FOR RELIEF
FRAUD IN CONNECTION WITH THE
PURCHASE OR SALE OF SECURITIES
Violations of Section 10(b) of the Exchange Act
and Rule 10b-5 thereunder v

44. IThe Commission realleges and incorporates by reference ‘[[‘|[ l through 7
40 above. f

45. Broadcom, by engaging in the conduct described above, directly or
indirectly, in connection with the purchase or sale of a security, by the use of
means or instrumentalities of interstate commerce, of the mails or of the facilities
of a national securities exchange, with scienter:

a. employed devices schemes or artifices to defraud;' g

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b. made untrue statements of a material fact or omitted to state a
material fact necessary in order to make the statements made,
in the light of the circumstances under which they were made,
not misleading; or

c. engaged in acts practices or courses of business which
operated or would operate as a fraud or deceit upon other
persons k

46. By engaging in the conduct described above, Broadcom violated: and
unless restrained and enjoined will continue to violate, Section lO(b) of the
Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. §
240.10b-5. '

THIRD CLAIM FOR RELIEF
VIOLATIONS OF COMMISSION PERIODIC
REPORTING REQUIREMENTS
Violations of Section 13(a) of the Exchange Act,

and Rules 12b-20, 13a-1, 13a-11, and 13a-13 thereunder

47. rIhe Commission realleges and incorporates by reference 1111 l through
40 above.

48. By filing with the Commission materially false and misleading
periodic reports including annual, quarterly, and current reports on Forrns lO-K,
10-Q, and 8-_K for the fiscal years from 1998 through 2005 , Broadcom violated,
and unless restrained and enjoined will continue to violate, Section 13(a) of the
Exchange Act, 15 U.S.C. § 78m(a), and Rules 12b-20, 13a-l, 13a-11, and 13a-13
thereunder, 17 C.F.R. §§ 240.12b-20, 240.13a-1, 240.13a~11, and 240.l3a-l3.

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FOURTH CLAIM FOR RELIEF
RECORD' KEEPING VIOLATIONS

Violations of Section 13(b)(2)(A) of the Exchang`e Act y
, 49. The Commission realleges and incorporates by reference 1111 l through
40 above. v

50. By failing to make or keep books records and accounts that in
reasonable detail accurately and fairly reflected its transactions and disposition iof ,
its assets Broadcom violated, and unless restrained and enjoined will continue to l
violate, Section l3(b)(2)(A) of`-the»Exchange Act, 15 U.S.C. § 78m(b)(2)(A).

FIFTH CLAIM FOR RELIEF
INTERNAL CONTROLS VIOLATIONS
Violations of Sections 13(b)(2)(B) of the Exchange Act

51. The Comrnission realleges and incorporates by reference 1111 1 through
40 above. -

52. By failing to devise and maintain a system of internal accounting
controls sufficient to provide reasonable assurances that transactions were recorded
as necessary to permit preparation of financialstatements in conformity with
GAAP and to maintain the accountability of assets Broadcom violated, and unless l
restrained and enjoined will continue to violate, Section 13(b)(2)(B) of the
Exchange Acr, 15 U.s.C. § rsm(b)(z)(s). ,

SIXTH CLAIM FOR RELIEF
PROXY VIOLATIONS
Violations of Section 14(a) of the Exchange Act and Rule 14a-9 thereunder

5 3. The Cornrnission realleges and incorporates by reference 1111 l through
40 above. l

54. Broadcom, by the use of the mails or by any means or instrumentality
of interstate commerce or of any facility of a national securities exchange or

otherwise, knowingly, recklessly or negligently, solicited proxies by means of a

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proxy statement, form of proxy, notice of meeting or other communication, written
or oral, containing statements which, at the time and in light of the circumstances
under which they were made, were false and misleading with respect to material
facts or omitted to state material facts`necessary in order to make the statements
therein not false or misleading or necessary to correct statements in earlier
communications with\respect to the solicitation of the proxy for the same meeting
or subject matter which was false or misleading __ j

55. By engaging in the conduct alleged above, Broadcom violated, and l
unless restrained and enjoined will continue to violate, Section 14(a) of the
Exchange Act, 15 U.S.C. § 78n(a), and Rule 14a-9 thereunder, 17 C.F.R. §
240. l4a-9.

PRAYER FoR RELiEF

WHEREFORE, the Commission respectfully requests that the Court:

(a) lssue findings of fact and conclusions of law that Defendant
committed the alleged violations l

(b) lssue judgments in a form consistent with'Rule 65(d) of the Federal
Rules of Civil Procedure, permanently enjoining Broadcom, its agents servants
employees attorneys and those persons in active concert or participation with
them, who receive actual notice of the order by personal service or otherwise, from
violating Section l7(a) of the Securities Act, 15 U.S.C. § 77q(a), Sections 10(b),
l3(a), 13(b)_(2)(A), l3(b)(2)(B), and 14(a) of the Exchange Act, 15 U.S.C. §§
78j(b), 78m(a), 78m(b)(2)(A), 78m(b)(2)(B), and 78n(a), and Rules 10b-5, 12b-20,
13a-l , 13a-11, 13a-13, and 14a-9 thereunder, 17 C.F.R. §§ 240.10b-5, 240.12b-20,
240.l3a-1, 240.13a-1l, 240.l3a-l3, and 240.l4a-9.

(c) Order Broadcom to pay a civil penalty pursuant to Section 20(d) of
the Securities Act, 15 U.S.C. § 77t(d), and/or Section 2l(d)(3) of the Exchange
Act, 15 U.S.C. § 78u(d)(3).

(d) Retain jurisdiction of this action in accordance with the principles of

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equity and the F ederal Rules of CivilProcedure in order to implement and carry
out the terms of all orders and decrees that may be entered, or to entertain any
suitable application or motion for additional relief within the jurisdiction of this
Court. _ l

(e) Grant such other and further relief as this Court may determine to be

just and necessary.

DATED; Apriig?_);zoos Q`/ /4L<

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Attorne_y for Plaintiff ~ _
Securities and Exchange Comrnission

 

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